972 F.2d 1354
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Joseph CANOLES, Petitioner,v.MERIT SYSTEMS PROTECTION BOARD, Respondent.andDepartment of the Air Force, Intervenor.
    No. 92-3056.
    United States Court of Appeals, Federal Circuit.
    June 10, 1992.
    
      On Appeal from the Merit Systems Protection Board in Case No(s).  BN07529010175.
      50 MSPR 374.
      AFFIRMED.
      NIES, Chief Judge, RICH, Circuit Judge, and MILLS, District Judge*.
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Honorable Richard Mills, Central District of Illinois, sitting by designation
      
    
    